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10                               UNITED STATES DISTRICT COURT

11                     FOR THE SOUTHERN DISTRICT OF CALIFORNIA
12
     MATTHEW JONES, et al.,                             Case No. 3:19-cv-01226-L-AHG
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14                         Plaintiffs,     NOTICE OF VOLUNTARY DISMISSAL
                                           OF PLAINTIFFS MATTHEW JONES,
15
         vs.                               KYLE YAMAMOTO, THOMAS FURRH,
16                                         AND BEEBE FAMILY ARMS AND
17 ROB BONTA, in his official capacity as MUNITIONS
   Attorney General of California, et al.,
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19                   Defendants.

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     NOTICE OF VOLUNTARY DISMISSAL OF PLAINTIFFS MATTHEW JONES, KYLE YAMAMOTO, THOMAS FURRH, AND BEEBE FAMILY
                                                             ARMS AND MUNITIONS (CASE NO. 3:19-CV-01226-L-AHG)
 1   TO THE COURT, CLERK OF THE COURT, AND TO ALL PARTIES
 2   PLEASE TAKE NOTICE that pursuant to Federal Rules of Civil Procedure Rule
 3   41(a)(1)(A)(ii), Plaintiffs Matthew Jones, Kyle Yamamoto, Thomas Furrh, and Beebe
 4   Family Arms and Munitions hereby withdraw as Plaintiffs in this action. Parties have
 5   stipulated to the voluntary dismissal of said parties. A true and correct copy of the
 6   stipulation is attached hereto. Plaintiff’s withdrawal operates as a dismissal of the
 7   action, without prejudice as applied only to Plaintiffs Matthew Jones, Kyle Yamamoto,
 8   Thomas Furrh, and Beebe Family Arms and Munitions (and no other Plaintiffs named
 9   in this action).
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12   February 16, 2023                             Respectfully submitted,

13                                                 Dillon Law Group APC
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                                                   By: ___/s/ John W. Dillon_____________
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                                                           John Dillon
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      NOTICE OF VOLUNTARY DISMISSAL OF PLAINTIFFS MATTHEW JONES, KYLE YAMAMOTO, THOMAS FURRH, AND BEEBE
                                                 FAMILY ARMS AND MUNITIONS (CASE NO. 3:19-CV-01226-L-AHG)
